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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 22-00163-MWF (SKx)                         Date: December 6, 2022
 Title:   In Re Ethereummax Investor Litigation
 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                             Court Reporter:
           Rita Sanchez                              Not Reported

           Attorneys Present for Plaintiff:          Attorneys Present for Defendant:
           None Present                              None Present

 Proceedings (In Chambers):             ORDER RE: DEFENDANTS’ OMNIBUS
                                        MOTION TO DISMISS AND THE
                                        INDIVIDUAL DEFENDANTS’ MOTIONS TO
                                        DISMISS [65, 66, 67, 68, 69, 80]

         This action demonstrates that just about anyone with the technical skills and/or
 connections can mint a new currency and create their own digital market overnight.
 Likewise, the action emphasizes the power of social media in allowing celebrities to
 directly communicate with their millions of fans with a touch of a button. These two
 facts, together, have seemingly allowed unvetted and highly volatile investment
 ventures to go viral based solely on the paid-for word of celebrity promoters. Losses
 have inevitably followed. The Court acknowledges that this action raises legitimate
 concerns over celebrities’ ability to readily persuade millions of undiscerning followers
 to buy snake oil with unprecedented ease and reach. But, while the law certainly places
 limits on those advertisers, it also expects investors to act reasonably before basing
 their bets on the zeitgeist of the moment.

        Regardless of the broader concerns the CCAC may (or may not) ultimately raise,
 the Court’s holdings turn on the fact that the allegations, as currently pled, are
 insufficient to state a claim for relief, particularly given the heightened pleading
 standards for claims grounded in fraud.

       Before the Court are six motions:



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                           CIVIL MINUTES—GENERAL

 Case No. CV 22-00163-MWF (SKx)                      Date: December 6, 2022
 Title:   In Re Ethereummax Investor Litigation
           The Motion to Dismiss Plaintiffs’ Consolidated Class Action Complaint
            (the “CCAC”), filed by Defendants Russell Davis, Steven Gentile,
            Kimberly Kardashian, Justin Maher, Giovanni Perone, Paul Pierce, and
            Floyd Mayweather, Jr. (collectively, “Defendants”) on July 29, 2022 (the
            “Omnibus Motion”). (Docket No. 65). Plaintiffs filed an Opposition on
            September 16, 2022 (the “Omnibus Opposition”). (Docket No. 75).
            Defendants filed a Reply on October 14, 2022 (the “Omnibus Reply”).
            (Docket No. 86).

           The Motion to Dismiss the CCAC filed individually by Defendant Perone
            on July 29, 2022 (the “Perone Motion”). (Docket No. 66). Plaintiffs filed
            an Opposition on September 16, 2022 (the “Perone Opposition”). (Docket
            No. 78). Defendant filed a Reply on October 14, 2022 (the “Perone
            Reply”). (Docket No. 88).

           The Motion to Dismiss the CCAC filed individually by Defendant Gentile
            on July 29, 2022 (the “Gentile Motion”). (Docket No. 67). Plaintiffs filed
            an Opposition on September 16, 2022 (the “Gentile Opposition”).
            (Docket No. 76). Defendant filed a Reply on October 14, 2022 (the
            “Gentile Reply”). (Docket No. 87).

           The Motion to Dismiss the CCAC filed individually by Defendant
            Kardashian on July 29, 2022 (the “Kardashian Motion”). (Docket No.
            68). Plaintiffs filed an Opposition on September 16, 2022 (the
            “Kardashian Opposition”). (Docket No. 77). Plaintiffs also filed a
            Request for Judicial Notice (“RJN”) on October 5, 2022. (Docket No. 85).
            Defendant filed a Reply and Objections to Plaintiffs’ RJN on October 14,
            2022 (the “Kardashian Reply” and “RJN Objections”). (Docket Nos. 89
            and 90). Plaintiffs filed a Reply in support of their RJN on October 24,
            2022 (the “RJN Reply”). (Docket No. 94).

           The Motion to Dismiss the CCAC filed individually by Defendant Pierce
            on July 29, 2022 (the “Pierce Motion”). (Docket No. 69). Plaintiffs filed
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             an Opposition on September 16, 2022 (the “Pierce Opposition”). (Docket
             No. 79). Defendant filed a Reply on October 14, 2022 (the “Pierce
             Reply”). (Docket No. 91). Defendant Pierce also filed an unopposed RJN
             concurrently with his Motion. (Docket No. 70).

           The Motion to Dismiss the CCAC filed individually by Defendant
            Mayweather on September 26, 2022 (the “Mayweather Motion”). (Docket
            No. 80). Plaintiffs filed an Opposition on October 17, 2022 (the
            “Mayweather Opposition”). (Docket No. 92). Defendant filed a Reply on
            October 24, 2022 (the “Mayweather Reply”). (Docket No. 93).
            Defendant Mayweather also filed an unopposed RJN concurrently with his
            Motion. (Docket No. 81).

       The Court has read and considered the papers on the Motions and held a hearing
 on November 7, 2022. In sum, the Omnibus Motion is GRANTED in full and the
 individual Defendants’ Motions are DENIED as moot, with the exception that the
 Court decided the personal jurisdiction issues raised in certain individual Defendants’
 Motions. Specifically, the Court rules as follows:

           The Gentile Motion is GRANTED without prejudice because Plaintiff
            relied on bare allegations in the face of specific denials by Gentile that
            demonstrate that Gentile lacks sufficient minimum contacts with
            California for the Court to exercise specific personal jurisdiction over him.

           The Perone Motion is DENIED to the extent it seeks dismissal based on
            lack of personal jurisdiction because, assuming Plaintiffs’ uncontroverted
            facts to be true, Perone purposefully directed his activities towards
            California.

           The Kardashian Motion is DENIED to the extent it seeks dismissal as to
            the non-California state law claims based on want of personal jurisdiction
            because Kardashian, domiciled in California, is subject to this Court’s all-
            purpose general jurisdiction.

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                            CIVIL MINUTES—GENERAL

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           The Omnibus Motion is GRANTED with leave to amend as to the RICO
            claim because Plaintiffs lack standing and fail to plausibly allege a RICO
            enterprise.

           The Omnibus Motion is GRANTED without leave to amend to the extent
            it seeks to dismiss claims brought under state laws by Plaintiffs that do not
            reside in the respective state due to those Plaintiffs’ lack of standing.

           The Omnibus Motion is GRANTED without leave to amend the
            Consumer Legal Remedies Act claim because that Act is inapplicable to
            the sale of intangible goods such as cryptocurrency, and therefore,
            granting leave to amend would be futile.

           The Omnibus Motion is GRANTED with leave to amend as to each of
            the other state consumer protection statutory claims because Plaintiffs fail
            to adequately plead actual reliance and/or causation.

           The Omnibus Motion is GRANTED with leave to amend as to the aiding
            and abetting claim against the Promoter Defendants because the CCAC
            fails to adequately plead that the Promoter Defendants had actual
            knowledge of a scheme to defraud EMAX investors.

           The Omnibus Motion is GRANTED with leave to amend as to the
            conspiracy claim because the CCAC fails to adequately plead that
            Defendants ever reached an agreement to defraud EMAX investors or that
            each Defendant had knowledge of such a scheme.

           The Omnibus Motion is GRANTED with leave to amend as to the unjust
            enrichment claim because Plaintiffs have failed to allege that they lack
            adequate remedies at law.

           The individual Defendants’ Motions are DENIED as moot to the extent
            they raise arguments that the Court does not reach herein.


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           The RJNs are DENIED as moot as the Court did not rely on them to
            determine its rulings.

 I.    BACKGROUND

        Below the Court summarizes the allegations in the CCAC, assuming them to be
 true, for the purpose of deciding these Motions.

        EthereumMax (“EMAX”) is a cryptocurrency project centered around the
 EthereumMax tokens (“EMAX Tokens”), a blockchain-based digital asset. (CCAC ¶¶
 31-32). EMAX Tokens function like other digital cryptocurrencies; they can be traded,
 spent, or otherwise transacted between token holders. (Id. ¶ 32). The EMAX Token
 launched on May 14, 2022, with a transaction volume of $16.11 million and a price of
 $0.00000005875 per EMAX Token. (Id. ¶ 40). At the time of launch, the EMAX
 Tokens were not sold pursuant to a “whitepaper.” (Id. ¶ 41). Whitepapers in
 cryptocurrency are documents released by the founders of the project that gives
 investors technical information about its concept, and a roadmap for how it plans to
 grow and succeed. (Id. ¶ 42). Subsequently, however, EMAX did release a whitepaper
 in October 2021, which explained the business model for EMAX. (Id. ¶ 43). Plaintiffs
 allege that the whitepaper reveals that EMAX’s “entire business model relies on using
 constant marketing and promotional activities, often from ‘trusted’ celebrities, to dupe
 potential investors into trusting the financial opportunities available with EMAX
 Tokens.” (Id. ¶ 45).

        The CCAC refers to Defendants Justin Maher, Steve Gentile, Mike Speer, Justin
 French, and Giovani Perone as the “Executive Defendants,” alleging that these
 individuals are the co-founders of, or at least consultants for, EMAX. (See id. ¶¶15-
 19). The CCAC refers to Kim Kardashian, Floyd Mayweather, Jr., Paul Pierce, Russell
 Davis, and Antonio Brown as the “Promoter Defendants,” who allegedly conspired
 with the Executive Defendants to artificially inflate the price of the EMAX Tokens.
 (Id. ¶¶ 2, 4). The nine named Plaintiffs bring a putative class action against Corporate
 Defendant X (the “corporate entity” behind EMAX that is “currently unknown to
 Plaintiffs”), the Executive Defendants, and the Promoter Defendants. (Id. ¶¶ 15-26).
 Plaintiffs allege that they purchased EMAX Tokens between May 14, 2021, and June
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 27, 2021 (the “Relevant Period”) and suffered damages as a result. (CCAC ¶ 5). Each
 Plaintiff alleges that they purchased the EMAX Tokens after viewing “numerous
 celebrity endorsements” and that they would not have purchased and/or retained the
 EMAX Tokens (or at least not at the price they paid) but for the Defendants’ alleged
 misrepresentations and/or omissions. (Id. 6-14, 135, 141, 151, 224, 230).

       The EMAX Token price has fluctuated since its launch, with price hikes often
 coinciding with celebrity endorsements. (Id. ¶ 112). The Court briefly references the
 various statements made by the moving Promoter Defendants as referenced by the
 CCAC:

        Mayweather: Plaintiffs allege that on or around May 26, 2021, through a
 partnership with Executive Defendants, Mayweather encouraged individuals to
 purchase tickets to see the pay-per-view boxing event between Mayweather and Logan
 Paul using EMAX Tokens by offering various incentives for such purchases, such as
 signed Mayweather paraphernalia. Plaintiffs also allege that EMAX released two press
 releases associating EMAX with Mayweather and the fight. (Id. ¶¶ 83-85). Further,
 Mayweather allegedly wore a t-shirt with “EthereumMax emblazoned across the chest”
 when he attended a Bitcoin conference in Miami. At the conference, during a panel
 discussion, he stated: “I believe there’s gonna be another cryptocurrency just as large
 as Bitcoin someday.” (Id. ¶ 90).

        Kardashian: Plaintiffs allege that Kardashian made two social media posts that
 promoted EMAX. The Court has reposted the alleged endorsements below. The first
 post (on the left) was posted to Kardashian’s Instagram on May 30, 2021, and the
 second post (on the right) was posted to Kardashian’s Instagram on June 14, 2021. (Id.
 ¶¶ 87, 97). Plaintiffs note that the first post does not state it is an advertisement, but
 that the second post does include a “#AD” disclaimer at the bottom right.




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       Pierce: Plaintiffs allege that Pierce promoted EMAX on Twitter on four
 occasions (on May 26, 2022, May 28, 2022, May 30, 2022, and June 6, 2022). (Id. ¶¶
 51-69) (describing Pierce’s posts and coinciding EMAX trading activity). The four
 relevant posts are pasted below in chronological order.




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      Plaintiffs also include in the CCAC the below chart, originally published in the
 London Financial Times, demonstrating the rise and fall of the EMAX Tokens’ price in
 connection with the Promoter Defendants’ endorsements:




 (Id.)
 ______________________________________________________________________________
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         As the above chart tends to demonstrate, by May 30, 2022, EMAX had a
  transaction volume of over $100 million, up 632% in just two weeks after its launch.
  (Id. ¶ 108). EMAX Tokens reached their maximum price of $0.000000863 on May 29,
  2022. (Id.). However, the price of EMAX Tokens began to deflate immediately after
  Kardashian’s second post. (Id. ¶ 109). The day after her post, the price of the EMAX
  Token hit its all-time low: $0.000000017 per unit, a 98% drop from which it has not
  been able to recover. (Id.).

         Plaintiffs emphasize the impact of Kardashian’s Instagram post on June 14,
  2021, in particular. Plaintiffs refer to a survey conducted by Morning Consult, a
  financial services company, which analyzed “the impact of celebrities on crypto
  investor decisions,” and, in particular, the impact of Kardashian’s EthereumMax post.
  (Id. ¶ 99). The survey found that up to 21% of all American adults and nearly half of
  all cryptocurrency owners had seen Kardashian’s second post. Furthermore, it found
  that 19% of respondents who said they heard about the post invested in EMAX as a
  result. (Id. ¶ 99).

        The gravamen of the CCAC is that the Executive Defendants conspired (and
  continue to conspire) with the Promoter Defendants in an ongoing scheme to use
  celebrity endorsements to periodically pump up the trading volume and price of the
  EMAX Token to provide exit liquidity for Defendants (i.e., a classic “pump and dump”
  scheme). (See, e.g., id. ¶ 65).

         Plaintiffs allege that at least three primary facts evince such a scheme; (1) the
  Executive Defendants did not lock their wallets, which allowed those Defendants to
  immediately sell off their EMAX Tokens when the price hiked, without restriction (see
  id. ¶¶ 96, 110); (2) the Executive Defendants intentionally concealed their identities
  and failed to disclose their ownership interests in the EMAX Tokens to avoid scrutiny
  of their sales (see id. ¶ 161); and (3) at least some of the Promoter Defendants, such as
  Pierce, Brown, and Davis, were paid for their endorsements with EMAX Tokens,
  giving those Defendants a direct financial stake in the price of the EMAX Tokens (see
  id. ¶¶ 66, 68).


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         However, even viewing the facts in the light most favorable to Plaintiffs, the
  Court must note some of the CCAC’s contrary allegations. For instance, Plaintiffs
  allege that certain Executive Defendants did reveal themselves as the EMAX founders
  in YouTube videos and Defendant Perone specifically told the public that the
  Executive Defendants had not yet locked their wallets. (Id. ¶¶ 93-96). Furthermore,
  the Twitter posts by Pierce make clear to the public the fact that he had invested in the
  EMAX Tokens and had a financial interest in the price of the Tokens. (See e.g., id. ¶
  51).

         Further, Plaintiffs specifically allege that certain Promoter Defendants did not
  receive EMAX Tokens as compensation for their endorsements. For example,
  Mayweather did not receive compensation for his endorsements in the form of EMAX
  Tokens. (Id. ¶ 81) (“According to Maher, Mayweather’s representatives refused
  payment in EMAX Tokens and instead received payment in Ethereum, which has
  significantly more price stability.”); (see also id. ¶ 102) (“[I]t is unclear what the
  precise terms are of the financial compensation that Kardashian was given by the
  Executive Defendants, Kardashian routinely gets paid between $300,000 and $1
  million for most promotional posts.”).

         Based on the above allegations, in addition to numerous other allegedly
  misleading statements made by the Executive Defendants, Plaintiffs assert ten claims
  for relief: (1) the California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
  § 17200, et seq. (all Defendants) (id. ¶¶ 131–136); (2) the California Consumer Legal
  Remedies Act (“CLRA”), Cal. Civ. Code § 1770 (all Defendants) (id. ¶¶ 137–144); (3)
  aiding and abetting under California common law (all Promoter Defendants) (id. ¶¶
  145–152); (4) the federal Racketeer Influenced and Corrupt Organizations Act
  (“RICO”), 18 U.S.C. § 1961, et seq. (all Defendants) (id. ¶¶ 153–186); (5) common
  law conspiracy (all Defendants) (id. ¶¶ 187–191); (6) the California False Advertising
  Law (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq. (against Kardashian) (id. ¶¶
  192–203); (7) the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Ch.
  501, § 17200, Fla. Stat. Ann. (all Defendants) (id. ¶¶ 204–220); (8) the New York
  General Business Law (“N.Y. GBL”), Art. 22-A, § 349, et seq. (all Defendants); (9) the
  New Jersey Consumer Fraud Act (“N.J. CFA”), NJSA 56:8-1, et seq. (all Defendants)
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  (id. ¶¶ 227–232); and (10) California common law “unjust enrichment/restitution” (all
  Defendants) (id. ¶¶ 233–236).

 II.    LEGAL STANDARDS

         “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a
  cognizable legal theory or (2) fails to allege sufficient facts to support a cognizable
  legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). “Federal Rule
  of Civil Procedure 8(a)(2) requires only ‘a short and plain statement of the claim
  showing that the pleader is entitled to relief,’ in order to ‘give the defendant fair notice
  of what the . . . claim is and the grounds upon which it rests . . . .” Bell Atl. Corp. v.
  Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47
  (1957)).

           In ruling on the Motion under Rule 12(b)(6), the Court follows Twombly,
  Ashcroft v. Iqbal, 556 U.S. 662 (2009), and their Ninth Circuit progeny. “To survive a
  motion to dismiss, a complaint must contain sufficient factual matter . . . to ‘state a
  claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly,
  550 U.S. at 570). The Court must disregard allegations that are legal conclusions, even
  when disguised as facts. See id. at 681 (“It is the conclusory nature of respondent’s
  allegations, rather than their extravagantly fanciful nature, that disentitles them to the
  presumption of truth.”); Eclectic Properties E., LLC v. Marcus & Millichap Co., 751
  F.3d 990, 996 (9th Cir. 2014). “Although ‘a well-pleaded complaint may proceed even
  if it strikes a savvy judge that actual proof is improbable,’ plaintiffs must include
  sufficient ‘factual enhancement’ to cross ‘the line between possibility and
  plausibility.’” Eclectic Properties, 751 F.3d at 995 (quoting Twombly, 550 U.S. at
  556–57) (internal citations omitted).

         The Court must then determine whether, based on the allegations that remain and
  all reasonable inferences that may be drawn therefrom, the complaint alleges a
  plausible claim for relief. See Iqbal, 556 U.S. at 679; Cafasso, U.S. ex rel. v. Gen.
  Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054 (9th Cir. 2011). “Determining whether a
  complaint states a plausible claim for relief is ‘a context-specific task that requires the
  reviewing court to draw on its judicial experience and common sense.’” Ebner v.
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  Fresh, Inc., 838 F.3d 958, 963 (9th Cir. 2016) (quoting Iqbal, 556 U.S. at 679). Where
  the facts as pleaded in the complaint indicate that there are two alternative
  explanations, only one of which would result in liability, “plaintiffs cannot offer
  allegations that are merely consistent with their favored explanation but are also
  consistent with the alternative explanation. Something more is needed, such as facts
  tending to exclude the possibility that the alternative explanation is true, in order to
  render plaintiffs’ allegations plausible.” Eclectic Properties, 751 F.3d at 996–97; see
  also Somers, 729 F.3d at 960.

         Fraud-based claims are governed by Rule 9(b). See Kearns v. Ford Motor Co.,
  567 F.3d 1120, 1125 (9th Cir. 2009) (Rule 9(b) standard applies to California consumer
  protection claims, including under the CLRA and UCL). “Rule 9(b) demands that,
  when averments of fraud are made, the circumstances constituting the alleged fraud be
  specific enough to give defendants notice of the particular misconduct so that they can
  defend against the charge[.]” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th
  Cir. 2003) (internal citations omitted). Under Rule 9(b), fraud allegations must include
  the “time, place, and specific content of the false representations as well as the
  identities of the parties to the misrepresentations.” Swartz v. KPMG LLP, 476 F.3d
  756, 764 (9th Cir. 2007) (citing Edwards v. Marin Park, Inc., 356 F.3d 1058, 1066 (9th
  Cir. 2004)). In other words, “[a]verments of fraud must be accompanied by ‘the who,
  what, when, where, and how’ of the misconduct charged.” Vess, 317 F.3d at 1106.
  Such averments must be specific enough to “give defendants notice of the particular
  misconduct . . . so that they can defend against the charge and not just deny that they
  have done anything wrong.” Id. (quoting Bly–Magee v. California, 236 F.3d 1014,
  1019 (9th Cir. 2001)).

        Whereas allegations concerning the circumstances of fraud must include the “the
  who, what, when, where, and how of the misconduct charged,” Id. (internal quotation
  marks and citations omitted), issues of “[m]alice intent, knowledge, and other
  conditions of a person’s mind may be alleged generally.” Fed. R. Civ. P. 9(b).




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     III.      DISCUSSION

         Three of the individual Defendants (Gentile, Perone, and Kardashian) move to
  dismiss under Rule 12(b)(2) for lack of personal jurisdiction. After setting forth the
  pertinent legal standards, the Court discusses each moving Defendant’s arguments in
  turn.

               A.    Personal Jurisdiction

         When a defendant moves to dismiss for lack of personal jurisdiction, the plaintiff
  bears the burden of demonstrating that the court has jurisdiction. Ranza v. Nike, Inc.,
  793 F.3d 1059, 1068 (9th Cir. 2015). “Where, as here, [] [D]efendant’s motion is
  based on written materials rather than an evidentiary hearing, the plaintiff need only
  make a prima facie showing of jurisdictional facts to withstand the motion to dismiss.”
  Id. (internal quotation marks and citations omitted). While “conflicts between the
  parties over statements contained in affidavits must be resolved in the plaintiff’s favor,”
  courts “may not assume the truth of allegations in a pleading which are contradicted by
  affidavit.” Id.; Data Disc, Inc. v. Sys. Tech. Assocs., Inc., 557 F.2d 1280, 1284 (9th
  Cir. 1977) (citing Taylor v. Portland Paramount Corp., 383 F.2d 634, 639 (9th Cir.
  1967).

         “Federal courts ordinarily follow state law in determining the bounds of their
  jurisdiction over [non-resident defendants].” Daimler AG v. Bauman, 134 S.Ct. 746,
  753 (2014). “California’s long-arm statute,” Cal. Civ. Proc. Code § 410.10, “allows
  the exercise of personal jurisdiction to the full extent permissible under the U.S.
  Constitution.” Id. Because section 410.10 “is coextensive with federal due process
  requirements …, the jurisdictional analyses under state law and federal due process are
  the same.” Martinez v. Aero Caribbean, 764 F.3d 1062, 1066 (9th Cir. 2014) (internal
  citation omitted).

         There are two varieties of personal jurisdiction based on a defendant’s contacts
  with the forum: general and specific. General jurisdiction, which “permits a court to
  hear any and all claims against a defendant, whether or not the conduct at issue has any

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  connection to the forum,” may only be exercised where a defendant’s contacts with the
  forum are “continuous and systematic.” Ranza, 793 F.3d at 1069-70 (internal quotation
  marks and citations omitted). “Specific jurisdiction exists when a case ‘aris[es] out of
  or relate[s] to the defendant’s contacts with the forum.’” Ranza, 793 F.3d at 1068
  (quoting Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 n. 8
  (1984)). In order to be subject to a court’s specific jurisdiction, “the defendant’s suit-
  related conduct must create a substantial connection with the forum State.” Walden v.
  Fiore, 571 U.S. 277, 284 (2014).

         The “purposeful direction” test applies to the first prong of the specific
  jurisdiction test, where, as here, plaintiffs primarily assert statutory and tort claims. See
  Baton v. Ledger SAS, No. 21-CV-02470-EMC, 2021 WL 5226315, at *5 (N.D. Cal.
  Nov. 9, 2021). Purposeful direction occurs where the defendant “(1) committed an
  intentional act, (2) expressly aimed at the forum state, (3) causing harm that the
  defendant knows is likely to be suffered in the forum state.” Axiom Foods, Inc. v.
  Acerchem Int’l, Inc., 874 F.3d 1064, 1069 (9th Cir. 2017).

                      1. Defendant Gentile

         Plaintiffs allege that Gentile is a resident and citizen of the State of Connecticut.
  (CCAC ¶ 16). Plaintiffs do not argue that Gentile is subject to this Court’s general
  jurisdiction, but rather, they argue he is subject to specific jurisdiction based on his
  purposeful direction towards the forum. Specifically, Plaintiffs argue that Gentile
  purposefully directed the below activities towards California:

              Promoting in-person influencer events in Los Angeles;
              Promoting California business that accept EMAX;
              Engaging California-based ambassadors to promote EMAX;
              Issuing a misleading press release out of Los Angeles;
              Issuing the White Paper that was reviewed by legal counsel in
               Los Angeles; and
              Creating tokens that were sold to Plaintiffs in California and this
               District.
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  (Gentile Opp. at 6) (cleaned up).

         Gentile submitted a declaration in support of his Motion regarding his contacts
  (or lack thereof) with California. In response, Plaintiffs merely rely on their allegations
  in the CCAC, which Gentile directly contradicts in his declaration. This is insufficient.
  See Ranza, 793 F.3d at 1068 (“A plaintiff may not simply rest on the ‘bare allegations
  of [the] complaint.’) (internal citation omitted).

          According to Gentile’s declaration, Gentile is a resident and citizen of the State
  of Connecticut. (Declaration of Stephen Gentile (“Gentile Decl.”) ¶ 2). He does not
  conduct business in California, does not derive any income in California, and has not
  set foot in California for at least four years. (Id. ¶¶ 3-8). Contrary to the allegations in
  the CCAC, Gentile explains that he is not a “founder” of EMAX — he did not know of
  the issuance of EMAX Tokens in advance and was not involved in the project launch.
  (Id. ¶¶ 9-11). Gentile testifies that he has never been an officer, director, or employee
  of any corporation that was or is involved in the EMAX project (id. ¶¶ 25-26); he never
  negotiated any EMAX Token promotions (id. ¶ 22); he never paid, arranged for the
  payment of, or even contacted any promoters or influencers (id. ¶¶ 22-23); he did not
  sell, distribute, gift, or otherwise transfer any EMAX Tokens during the Relevant
  Period (id. ¶ 13); and he did not send the EMAX whitepaper to any California law firm
  or entity (id. ¶¶ 11, 24-26).

         Nonetheless, in their Gentile Opposition, Plaintiffs attempt to broadly attribute
  contacts to Gentile that in the CCAC are described as being the actions of the
  “Executive Defendants” as a group. (See e.g., Gentile Opp. at 3) (“Simply put,
  California, and this District in particular, is where much of the Executive Defendants’
  alleged misconduct emanated.”); (see also id. at 8) (“[A]s part of his role as an
  executive with [EMAX], Gentile likely, on some level, approved the publication of the
  [] whitepaper.”). This line of argument is insufficient to confer personal jurisdiction
  over Gentile, particularly in the face of his specific denials in a declaration.

        “Under the fiduciary shield doctrine, a person’s mere association with a
  corporation that causes injury in the forum state is not sufficient in itself to permit that
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  forum to assert jurisdiction over the person.” Davis v. Metro Prod., 885 F.2d 515, 520
  (9th Cir. 1989). In other words, “[t]he fact that a corporation is subject to jurisdiction
  in the forum state . . . does not necessarily confer jurisdiction over its individual
  officers.” Sihler v. Fulfillment Lab, Inc., No. 3:20-CV-01528-H-MSB, 2020 WL
  7226436, at *4 (S.D. Cal. Dec. 8, 2020) (citations omitted). While “a court may assert
  personal jurisdiction over an individual based upon ‘the individual’s control of, and
  direct participation in the alleged activities’ of the corporation,” Gentile has explicitly
  denied having any control over EMAX’s activities. See Sihler, 2020 WL 7226436, at
  *5 (S.D. Cal. Dec. 8, 2020) (quoting Wolf Designs, Inc. v. DHR & Co., 322 F. Supp. 2d
  1065 (C.D. Cal. 2004)).

         However, Plaintiffs do allege two activities that Gentile specifically participated
  in, and that Gentile does not specifically deny. One of those activities is an alleged
  social media post from September 2021 promoting EMAX events taking place in
  California. (CCAC ¶ 30). However, Plaintiffs do not even attempt to explain how
  their claims arise out of that activity, particularly given the fact that the September post
  was published after what Plaintiffs themselves define as the Relevant Period (ending in
  June 2021). As such, the Court cannot conclude that Plaintiffs’ claims arise out of that
  single, attenuated contact with California.

         The second Gentile-specific activity alleged in the CCAC concerns a YouTube
  video, in which Gentile appears and discusses EMAX. (Id. ¶¶ 93-96). Gentile testifies
  that he neither uploaded the video nor created the account to which it was posted.
  (Gentile Decl. ¶¶ 17-19). Plaintiffs’ Opposition is void of any explanation of how or
  why appearing in a YouTube video amounts to “purposeful direction” aimed at
  California. Indeed, Plaintiffs fail entirely to address the contrary case law raised by
  Defendant. See Werner v. Dowlatsingh, 818 F. App'x 671, 672 (9th Cir. 2020)
  (“Dowlatsingh’s ‘suit related conduct’— allegedly displaying copyright protected
  photos via videos uploaded to YouTube from Toronto — did not ‘create a substantial
  connection’ with California”) (internal citation omitted); see also Cont’l Appliances,
  Inc. v. Thomas, No. C-12-1310 EMC, 2012 WL 3646887, at *3 (N.D. Cal. Aug. 23,
  2012) (holding that Defendant’s statements in a YouTube video did not establish

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  specific jurisdiction since Defendant did not create the YouTube account used to post
  the video, nor did he actually post the video).

         Additionally, Plaintiffs do not contend that personal jurisdiction can be
  established over Gentile pursuant to 18 U.S.C. § 1965(b), which provides for service of
  process upon RICO defendants residing outside the federal court’s district when it is
  shown that ‘the ends of justice’ require it.” See Butcher’s Union Loc. No. 498, United
  Food & Com. Workers v. SDC Inv., Inc., 788 F.2d 535, 538 (9th Cir. 1986). As Gentile
  points out, “[p]laintiffs bear the burden of showing that [a] case is eligible to invoke the
  nationwide jurisdictional provisions of RICO.” Gutierrez v. Givens, 989 F. Supp.
  1033, 1038 (S.D. Cal. 1997). This is “a high hurdle,” requiring the plaintiff “to
  affirmatively show that no other district could exercise jurisdiction over all the alleged
  co-conspirators.” Rupert v. Bond, 68 F. Supp. 3d 1142, 1162 (N.D. Cal. 2014).
  Because Plaintiffs have not even attempted to make this showing, the Court will not
  assess whether personal jurisdiction is proper pursuant to the RICO service provisions.

        Accordingly, because the Court lacks personal jurisdiction over Gentile, his
  Motion is GRANTED, and the claims against Gentile in the CCAC are DISMISSED
  without prejudice.

         Further, Plaintiffs’ request for jurisdictional discovery is DENIED. See Pebble
  Beach Co. v. Caddy, 453 F.3d 1151, 1160 (9th Cir. 2006) (“[W]here a plaintiff’s claim
  of personal jurisdiction appears to be both attenuated and based on bare allegations in
  the face of specific denials made by the defendants, the Court need not permit even
  limited discovery....”).

        Finally, at the hearing, Plaintiffs’ counsel suggested that leave to amend should
  be granted on this issue. However, Plaintiffs had every opportunity to support their
  Gentile Opposition with additional facts via declarations or any other documentary
  evidence. They failed to do so. Therefore, the Court will not grant leave to amend.




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                     2. Defendant Perone

         Defendant Perone, another Executive Defendant, also moves to dismiss for lack
  of personal jurisdiction. The CCAC alleges that Perone is a Florida resident, and the
  Perone Opposition makes clear that Plaintiffs only rely on specific, not general,
  personal jurisdiction. (See CCAC ¶ 17; Perone Opp. at 8-10). Unlike Gentile, Perone
  did not submit a declaration in support of his Motion, and therefore, the Court will
  assume the truth of the allegations in the CCAC. See Ranza, 793 F.3d at 1068 (on a
  motion to dismiss for lack of personal jurisdiction, “uncontroverted allegations must be
  taken as true.”).

         Plaintiffs make nearly identical arguments in the Gentile and Perone
  Oppositions. On the one hand, Plaintiffs’ failure to differentiate the Executive
  Defendants’ actions highlights their improper attempt to establish personal jurisdiction
  over each individual Defendant through group pleading. On the other hand, Perone
  does not make a good-faith effort to rebut Plaintiffs’ arguments regarding personal
  jurisdiction. Perone did not submit a declaration in support of his Motion, devoted
  merely two paragraphs to the issue in his Motion, and then failed entirely to address the
  issue in his Reply brief. Though the Court will not view the failure to respond to
  Plaintiffs’ arguments regarding personal jurisdiction in the Reply as “consenting” to
  jurisdiction, the Court will deem the lack of a rebuttal as a concession that Plaintiffs’
  arguments are persuasive. See Conden v. Royal Caribbean Cruises Ltd., CASE NO.
  20-22956-CIV-ALTONAGA/Goodman, 2021 WL 4973533, *7 (S.D. Fla. June 21,
  2021) (“The Court finds Scootaround’s failure to meaningfully respond to Plaintiff’s
  counterarguments is a concession by Scootaround of the arguments’ persuasiveness
  and that issues of fact remain.”) (citing Nguyen v. Nissan N. Am., Inc., 487 F. Supp. 3d
  845, 857 (N.D. Cal. 2020) (concluding that the party’s failure to address
  counterarguments in reply constituted abandonment of position taken in initial brief).
  Therefore, even though Plaintiffs mostly rely on allegations of the “Executive
  Defendants” as a group to establish Perone’s contacts with California, given Perone’s
  failure to rebut those allegations, the Court will assume that Perone was indeed one of
  the Executive Defendants involved in or directing the California-related activities
  raised by Plaintiffs.
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         Plaintiffs allege that Perone recruited and sent payments to California-based
  promoters, created the EMAX tokens that were sold into and marketed to California
  residents, directed the creation of the white paper via a California-based law firm, and
  directed the publishing of a press release from California. (See CCAC ¶¶ 17, 20, 22,
  45, 85 n.22, 93). And unlike the Gentile Motion, the Perone Motion points out
  allegations that specifically connect Perone to certain California-based promoters. For
  example, Plaintiffs point out that Kardashian’s second Instagram post specifically
  mentions Perone with the hashtag “#GIOPEMAX.” (CCAC ¶ 97). Plaintiffs argue that
  this hashtag makes it “reasonable to infer the Defendant Perone communicated with the
  California-based Defendant Kardashian in connection with her promotional posts.”
  (Perone Opp. at 10).

         Although on the thinnest of margins, given Perone dedicates no more than two
  paragraphs in his briefs to the issue and otherwise fails to rebut Plaintiffs’ allegations,
  the Court concludes that Plaintiffs have satisfied their burden of establishing a prima
  facie case of specific personal jurisdiction. See Calder v. Jones, 465 U.S. 783 (1984)
  (holding defendants were subject to specific jurisdiction in California where they
  authored or edited a news article that they knew would be circulated in California and
  would cause injury in California); see also Taubler v. Giraud, 655 F.2d 991, 994 (9th
  Cir. 1981) (defendants were subject to specific jurisdiction where they “knew and
  intended that their wines would be sold” in California and “actively promoted their
  product in California.”

          At the hearing, Perone’s counsel did not contest the Court’s tentative ruling on
  this issue.

        Accordingly, Perone’s Motion is DENIED to the extent it seeks dismissal based
  on lack of personal jurisdiction.

                      3. Defendant Kardashian

       The CCAC alleges, and Kardashian does not dispute, that Kardashian is
  domiciled in California. (CCAC ¶ 20). Yet, to this Court’s surprise, Kardashian
  moves to dismiss for lack of personal jurisdiction under Rule 12(b)(2).
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         “The primary focus of [the] personal jurisdiction inquiry is the defendant’s
  relationship to the forum State.” See Bristol-Myers Squibb Co. v. Superior Ct. of
  California, San Francisco Cnty., 137 S. Ct. 1773, 1779 (2017) (internal citations
  omitted) (emphasis added). “For an individual, the paradigm forum for the exercise of
  general jurisdiction is the individual’s domicile.” Id. “A court with general
  jurisdiction may hear any claim against that defendant, even if all the incidents
  underlying the claim occurred in a different State.” Id. (emphasis in original).

         Here, because Kardashian is domiciled in California, she is amenable to suit here
  regardless of the alleged claims. Yet, Kardashian nonchalantly advances a novel (if not
  mistaken) theory of personal jurisdiction. Kardashian argues that due process limits the
  exercise of jurisdiction over her as to the non-California Plaintiffs’ state law claims.
  (Kardashian Motion at 4-5). Specifically, Kardashian contends that because there are
  “no allegations that Kardashian had minimum contacts with the non-California
  Plaintiffs’ states, she could not have had notice that she could be haled into court to
  defend against claims raised under those states’ laws.” (Id. at 5). Surely, Kardashian’s
  competent counsel is well aware that personal jurisdiction is concerned with where an
  action is brought and the convenience of the forum for the defendant; it has little (if
  anything) to do with which laws the action is based on. Kardashian does not point this
  Court to a single case that has extended the concept of personal jurisdiction in such a
  manner.

         Oddly enough, this fundamental distinction appears to be lost on Plaintiffs given
  Plaintiffs have blindly followed Kardashian into this line of reasoning. Plaintiffs’
  Opposition brief on this issue is solely focused on establishing that Kardashian has
  sufficient contacts with the non-California states. Indeed, Kardashian (through her
  counsel) claims victory in the fact that Plaintiffs “do not dispute that this requirement
  applies to their non-California claims.” (Kardashian Reply at 1). Nonetheless, given
  Kardashian’s Motion raises a clear jurisdictional issue, the Court will rely on its own
  understanding of due process in declining Kardashian’s invitation to drastically narrow
  the scope of general jurisdiction.



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         While in Bristol-Myers, the Supreme Court undoubtedly assessed “the
  connection between the nonresidents’ claims and the forum,” that was in the context of
  specific jurisdiction, where the Defendant was not domiciled in the forum where the
  action was brought. See id. at 1782 (emphasis added). Indeed, the Court expressly
  stated that its decision did “not prevent the California and out-of-state plaintiffs from
  joining together in a consolidated action in the States that have general jurisdiction over
  BMS.” Id. at 1783. That is precisely what the California and out-of-state Plaintiffs
  have done in this action by bringing their class action claims in Kardashian’s home
  state. Further, the Supreme Court has also made clear that “the authority of a State to
  entertain the claims of nonresident class members is entirely different from its authority
  to exercise jurisdiction over an out-of-state defendant.” Id. (citing Phillips Petroleum
  Co. v. Shutts, 472 U.S. 797, 808-812 (1985)).

         While some other doctrine may theoretically provide a basis for Kardashian to
  argue that the non-California laws do not apply to her (e.g., choice of law rules), the
  Court will not dismiss, as a matter of personal jurisdiction, certain claims based on the
  fact that they are brought under non-California state laws. This Court has all-purpose
  jurisdiction over Kardashian, which allows it to hear any claim against her. In short,
  personal jurisdiction concerns a court’s authority to issue a binding judgment against a
  defendant, not the Court’s (or a state legislature’s) authority to apply non-forum state
  laws to forum-resident defendants.

         At the hearing, Kardashian’s counsel did not contest the Court’s tentative ruling
  on this issue.

        Therefore, Kardashian’s Motion is DENIED to the extent it is based on want of
  personal jurisdiction.

               B.    Civil RICO Claim

       A majority of the briefing in the Omnibus Motion is dedicated to Plaintiffs’
  RICO claim, so the Court addresses that claim first.


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         To state a civil claim for a RICO violation under 18 U.S.C. § 1962(c), a plaintiff
  must show “(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering
  activity.” Rezner v. Bayerische Hypo-Und Vereinsbank AG, 630 F.3d 866, 873 (9th Cir.
  2010) (quoting Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496 (1985)).
  Additionally, to “have standing under § 1964(c), a civil RICO plaintiff must show: (1)
  that his alleged harm qualifies as injury to his business or property; and (2) that his
  harm was ‘by reason of’ the RICO violation, which requires the plaintiff to establish
  proximate causation. Canyon Cnty. v. Syngenta Seeds, Inc., 519 F.3d 969, 972 (9th
  Cir. 2008) (citing Holmes v. Sec. Investor Prot. Corp., 503 U.S. 258, 268 (2008). A
  civil RICO plaintiff “can only recover to the extent that, he has been injured in his
  business or property.” Id. at 975. Rule 9(b) applies to the fraudulent conduct relevant
  to the alleged common purpose of the enterprise and the alleged predicate acts, and
  thus requires a heightened showing of the circumstances of fraudulent acts. See
  Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986).
  Rule 9(b) “does not allow a complaint to merely lump multiple defendants together,”
  but requires plaintiffs to “differentiate” their allegations to “inform” each defendant
  separately of the allegations particular to that defendant’s alleged participation in the
  fraud. Swartz v. KPMG LLP, 476 F.3d 756, 764-65 (9th Cir. 2007).

         Defendants argue that Plaintiffs’ RICO claim fails as to each and every element.
  Plaintiffs, of course, disagree.

         As an initial matter, the Court notes that a cursory review of the case law
  concerning RICO claims and alleged “pump and dump” schemes quickly reveals an
  issue not briefed by the parties — the Private Securities Litigation Reform Act
  (“PSLRA”) likely bars this claim. See, e.g., Davies v. GetFugu, Inc., No. CV 09-8724-
  GHK (RCX), 2010 WL 11597458, at *4 (C.D. Cal. Aug. 26, 2010) (“[T]he PSLRA bar
  has been applied to RICO claims based upon, in whole or in part, alleged ‘pump and
  dump’ schemes.”); Bald Eagle Area School Dist. v. Keystone Fin., Inc., 189 F.3d 321,
  327 (3d Cir. 1999) (citing legislative history and noting that the PSLRA was intended
  not simply “to eliminate securities fraud as a predicate offense in a civil RICO action,
  but also to prevent a plaintiff from pleading other specified offenses, such as mail or
  wire fraud, as predicate acts under civil RICO if such offenses are based on conduct
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  that would have been actionable as securities fraud.”); Trachsel v. Buchholz, No. C-08-
  02248-RMW, 2009 WL 86698, at *4 (N.D. Cal. Jan. 9, 2009) (same); Javitch v. First
  Montauk Fin. Corp., 279 F. Supp. 2d 931, 943 (N.D. Ohio 2003) (same); ITI Internet
  Servs., Inc. v. Solana Capital Partners, Inc., No. C05-2010Z, 2006 WL 1789029, at *8
  (W.D. Wash. June 27, 2006) (holding the plaintiffs’ RICO claims were fundamentally
  based on allegations in the nature of securities fraud claims where complaint referenced
  issuance of allegedly false press releases to increase the market value of the stock, and
  the alleged use of a “pump and dump” scheme that harmed unwary and misinformed
  investors); see also Digilytic Int'l FZE v. Alchemy Fin., Inc., No. 20 CIV. 4650 (ER),
  2022 WL 912965, at *11 (S.D.N.Y. Mar. 29, 2022) (collecting cases finding that
  cryptocurrency tokens are securities).

        Because the issue was not briefed, however, the Court will not dismiss the RICO
  claim based solely on the PSLRA bar. Nonetheless, the Court concludes that the claim
  must be dismissed for independent reasons.

                      1. Standing

        Defendants argue that Plaintiffs’ alleged injury is not an injury to property as
  required by RICO, but rather, is merely an injury to Plaintiffs’ “expectancy interest.”
  (Omnibus Mot. at 7). Plaintiffs counter that because they allege that they overpaid for
  the EMAX Tokens at an artificially inflated price, they have sufficiently alleged a well-
  recognized property injury under RICO. (Omnibus Opp. at 17). The Court agrees with
  Defendants.

          To successfully plead a RICO injury, plaintiffs must plausibly allege “a harm to
  a specific business or property interest.” Diaz v. Gates, 420 F.3d 897, 900 (9th Cir.
  2005) (en banc). However, RICO does not provide a cause of action for all types of
  injury to property interests, but only for injuries resulting in “concrete financial loss.”
  Id. at 898. An out-of-pocket loss is sufficient, but not necessary, to satisfy this
  requirement. See In re Volkswagen "Clean Diesel" Mktg., Sales Pracs., & Prod. Liab.
  Litig., No. MDL 2672 CRB (JSC), 2017 WL 4890594, at *5 (N.D. Cal. Oct. 30, 2017)
  (discussing Ninth Circuit cases). The Ninth Circuit has stated that “[i]n the ordinary
  context of a commercial transaction, a consumer who has been overcharged can claim
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  an injury to her property, based on a wrongful deprivation of her money.” Canyon
  Cty., 519 F.3d at 976. On the other hand, the Ninth Circuit has explained that a “mere
  expectancy interest” is insufficient to confer RICO standing. Chaset v. Fleer/Skybox
  Int’l, 300 F.3d 1083, 1087 (9th Cir. 2002). The value of a plaintiff’s purchase is
  determined at the time of the purchase. Id.

         As another district court has reasoned, the critical distinction between the cases
  finding a plaintiff has adequately pled an injury based on overpayment rather than an
  injury based on buyers’ remorse seem to turn on whether the plaintiff has plausibly
  alleged that they paid more than the fair market value of the items they purchased. See
  In re Chrysler-Dodge-Jeep Ecodiesel Mktg., Sales Pracs., & Prod. Liab. Litig., 295 F.
  Supp. 3d 927, 957 (N.D. Cal. 2018) (distinguishing several cases discussing the issue).

         The Court concludes that Plaintiffs have failed to allege facts supporting the
  contention that they paid more than fair market value for the EMAX Tokens at the time
  of their purchase. As Defendants point out, Plaintiffs do not dispute that they received
  the corresponding number of Tokens based on the Token’s actual and real-time value at
  the time of purchase. Indeed, if Plaintiffs had sold their Tokens immediately after
  purchasing them, they do not allege that they would have received less than what they
  paid. Rather, it seems quite plausible, based on Plaintiffs’ own allegations, that
  Plaintiffs could have received far more than what they paid for the Tokens had they
  sold them at the right time. This inherent volatility in market price is precisely why
  Plaintiffs likely purchased the Tokens in the first place — for the chance to capitalize
  on the sharp upswings. Plaintiffs cannot claim that they paid more than fair market
  value for the EMAX Tokens because the Tokens inherently have no value outside of
  what the market is willing to pay in real-time.

         Although in their Opposition, Plaintiffs frame their injury of an “artificially high
  price,” it is clear that the essence of Plaintiff’s RICO claim is that the Tokens are now
  (months after purchasing them) worthless. (Compare Omnibus Opp. at 18 with CCAC
  ¶ 109) (“Investors were left holding worthless [T]okens[.]”). In Chaset, the Ninth
  Circuit addressed whether purchasers of trading cards had suffered a RICO injury
  because they allegedly purchased packs of trading cards with the hope that the packs
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  would contain more valuable “insert” cards in addition to the “base” cards that
  typically were included in each pack. 300 F.3d at 1085–86. The Ninth Circuit
  followed the Fifth Circuit and a New York district court in holding that plaintiffs had
  failed to state a RICO injury. The court reasoned:

        At the time the plaintiffs purchased the package of cards, which is the
        time the value of the package should be determined, they received
        value—eight or ten cards, one of which might be an insert card—for
        what they paid as a purchase price. Their disappointment upon not
        finding an insert card in the package is not an injury to property.

  Id. at 1087.

        The Ninth Circuit found persuasive the reasoning of another court that held that
  the benefit of the bargain with such trading cards was “the chance itself” to win insert
  cards and given that chance was real, “having paid for it and received it, the card
  purchaser has not suffered any financial loss or RICO property injury.” Id. (citing
  Major League Baseball Props., Inc. v. Price, 105 F. Supp. 2d 46 (E.D.N.Y. 2000)).

         Here too, the most apparent reason a consumer would purchase an inherently
  volatile and novel cryptocurrency (i.e., to effectively pay mainstream money for
  another, widely unaccepted, form of money) is because such a consumer hopes that one
  day those Tokens will be worth more than the price for which the consumer paid for
  them. That chance – that the Token may increase in value – is real. Certainly, based
  on Plaintiffs’ own allegations, it appears that at least some people did sell their EMAX
  Tokens for a hefty profit, and perhaps, Plaintiffs may still do so in the future.
  Plaintiffs’ disappointment with the fact that they did not sell their Tokens before the
  market plummeted was an inherent risk of the bargain. See Green v. Aztar Corp., No.
  02–C–3514, 2003 WL 22012205 (N.D. Ill. Aug. 22, 2003) (“When [the plaintiff]
  decided to gamble, he paid for (and received) the opportunity to win[;] [w]hen that
  chance did not pay off, it did not mean that he suffered a RICO property loss
  however.”). Plaintiffs’ “disappointment at not winning [their] bets does not constitute
  an ‘injury to property’ sufficient to confer RICO standing.” See id.

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         Therefore, the Court concludes that Plaintiffs lack standing to bring their RICO
  claim because, at bottom, their injury is nothing more than disappointment over what
  their EMAX Tokens are worth today — not what they were worth at the time of their
  purchase.

                     2. RICO Enterprise

         Even assuming Plaintiffs have standing, Plaintiffs fail to adequately allege a
  RICO enterprise. Plaintiffs ask the Court to make huge leaps of logic to string together
  disconnected acts that when read together, supposedly evince a premeditated and well-
  orchestrated pump and dump scheme in violation of the federal RICO statute. But a
  hodgepodge of conclusory and disparate allegations does not a RICO claim make. The
  allegations more plausibly suggest that each Defendant (especially the Promoter
  Defendants) acted in furtherance of their own personal advantage, regardless of the
  interests of the alleged enterprise.

          The RICO statute defines an “enterprise” as “any individual, partnership,
  corporation, association, or other legal entity, and any union or group of individuals
  associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). “[T]o establish
  liability under § 1962(c) one must allege and prove the existence of two distinct
  entities: (1) a ‘person’ [which includes business entities under section 1961(3)]; and (2)
  an ‘enterprise’ that is not simply the same ‘person’ referred to by a different name.”
  Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 161 (2001). There must
  therefore be some “distinctness” between the “enterprise” and the individual
  defendants that are alleged to be the constituent parts of the enterprise. See id. at 162-
  63. Moreover, while the enterprise need not have a “separate structure,” it must be
  alleged separately from the racketeering activities it allegedly engaged in, as the
  enterprise and the activity are “two separate things.” Odom v. Microsoft Corp., 486
  F.3d 543, 551 (9th Cir. 2007) (citing U.S. v. Turkette, 452 U.S. 576, 583 (1981)).

        An associated-in-fact enterprise is “a group of persons associated together for a
  common purpose of engaging in a course of conduct.” U.S. v. Turkette, 452 U.S. 576,
  583 (1981). “To establish the existence of such an enterprise, a plaintiff must provide
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  both ‘evidence of an ongoing organization, formal or informal,’ and ‘evidence that the
  various associates function as a continuing unit.’” Odom, 486 F.3d at 552 (quoting
  Turkette, 452 U.S. at 583). Moreover, RICO liability may only attach to those who
  “participate in the operation or management of the enterprise itself.” Reves v. Ernst &
  Young, 507 U.S. 170, 185 (1993). Enterprise liability under the RICO statute “depends
  on showing that the defendants conducted or participated in the conduct of the
  ‘enterprise’s affairs,’ not just their own affairs.” Id. (emphasis in original). There are
  three requirements to plead an associated-in-fact enterprise: (1) a common purpose, (2)
  an ongoing organization, formal or informal, and (3) a continuing unit. Odom v.
  Microsoft Corp., 486 F.3d 541, 551 (9th Cir. 2007) (en banc).

         EMAX, the company, is itself a literal enterprise. But Plaintiffs cannot plead
  that the founders or creators of EMAX comprise their RICO association-in-fact
  because, to allege a RICO enterprise, the “enterprise” and the individual defendants
  that are alleged to be the constituent parts of the enterprise must be distinct. See
  Whelan v. Winchester Prod. Co., 319 F.3d 225, 229 (5th Cir. 2003) (“That officers or
  employees of a corporation, in the course of their employment, associate to commit
  predicate acts does not establish an association-in-fact enterprise distinct from the
  corporation.”); Elliott v. Foufas, 867 F.2d 877, 881 (5th Cir.1989) (“If the defendant is
  a legal entity, the plaintiffs must do more than merely establish that the corporation,
  through its agents, committed the predicate acts in the conduct of its own business.”).

         In an effort to overcome the distinctness requirement, Plaintiffs have attempted
  to plead an association between the Executive Defendants and the Promoter
  Defendants. Plaintiffs refer to this association as the “EMAX Token Enterprise.”
  (CCAC ¶ 155). But Plaintiffs fail to plausibly allege that any real enterprise existed
  between these two disparate groups of Defendants.

         Most evidently, Plaintiffs have failed to allege a common purpose. Plaintiffs
  allege that the Defendants “shar[ed] the common purpose of inflating the price and
  trading volume of EMAX Tokens in order to sell their respective portion of the Float
  for substantial profit.” (Id. ¶ 163). Plaintiffs contend that each person joined in that
  common purpose “because each person made more money the higher the EMAX
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  Token price rose and, as trading volume increased, the RICO Defendants would be able
  to sell off in the increased liquidity.” (Omnibus Opp. at 10) (citing CCAC ¶ 180).

         But Plaintiffs wholly fail to address the contradictory allegations in the CCAC
  raised by Defendants. As Defendants note, Plaintiffs concede that at least some of the
  Promoter Defendants were not paid with EMAX Tokens – and therefore, such
  Promoters had absolutely no stake in the price of EMAX Tokens as they would be paid
  a certain sum of money for their celebrity endorsement regardless of how the Tokens
  performed.

          Specifically, the CCAC alleges that Mayweather, the Promoter Defendant who
  by far had the biggest impact on the price of EMAX Tokens, did not receive any
  EMAX Tokens in exchange for his alleged endorsements. And even if some of the
  Promoter Defendants were paid in EMAX Tokens (e.g., Defendant Pierce), Plaintiffs
  fail to explain how those Promoter Defendants’ individual “pump and dumps” were in
  furtherance of the enterprise’s affairs, as opposed to furthering the Promoter
  Defendants’ own self-interest. Likewise, Plaintiffs do not allege that all of the
  Executive Defendants actually sold off their EMAX Tokens. (See e.g., Perone Mot. at
  1) (“As to Mr. Perone, Plaintiffs allege a pump with no dump.”). Therefore, Plaintiffs
  do not plausibly suggest that the EMAX Token Enterprise collectively shared the
  common purpose of hiking up the price of EMAX to sell their “respective portion of
  the Float for substantial profit.” (See CCAC ¶ 163).

         Rather, the Court tends to agree with Defendants’ contention that the allegations
  “only demonstrate that the parties are associated in a manner directly related to their
  own primary business activities.” (Omnibus Mot. at 11) (citing Shaw v. Nissan N. Am.,
  Inc., 220 F. Supp. 3d 1046, 1057 (C.D. Cal. 2016); see also Gomez v. Guthy-Renker,
  LLC, No. EDCV 14-01425 JGB (KKx), 2015 WL 4270042 at *8 (C.D. Cal. July 13,
  2015) (“Courts have overwhelmingly rejected attempts to characterize routine
  commercial relationships as RICO enterprises.”). When faced with two possible
  explanations, only one of which can be true and only one of which results in liability,
  “plaintiffs cannot offer allegations that are merely consistent with their favored
  explanation but are also consistent with the alternative explanation.” Shaw v. Nissan N.
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  Am., Inc., 220 F. Supp. 3d 1046, 1056 (C.D. Cal. 2016) (citing In re Century Aluminum
  Co. Secs. Litig., 729 F.3d 1104, 1108 (9th Cir. 2013)) (affirming dismissal because
  complaint established only a “possible” entitlement to relief). “Something more is
  needed, such as facts tending to exclude the possibility that the alternative explanation
  is true, in order to render plaintiffs’ allegations plausible.” See id.

         Here, the CCAC does not plausibly suggest that a RICO enterprise existed; but
  rather, the CCAC more plausibly suggests that each Defendant acted for his or her
  individual benefit. See e.g., In re Jamster Mktg. Litig., No. 05CV0819 JM (CAB),
  2009 WL 1456632, at *5 (S.D. Cal. May 22, 2009) (finding RICO claims not
  adequately pleaded because, after Plaintiff’s legal conclusions were set aside, all that
  remained was “conduct consistent with ordinary business conduct and an ordinary
  business purpose.”); Javitch v. Capwill, 284 F.Supp.2d 848, 857 (N.D. Ohio 2003)
  (“An association based upon a business relationship does not constitute an enterprise
  under § 1962(c) as the enterprise must have an existence apart from its predicate acts in
  order to establish that the enterprise functioned as a continuing unit.”).

         Plaintiffs’ citation to Tan v. Quick Box, LLC, No. 3:20-CV-01082-H-DEB, 2021
  WL 1293862, at *17 (S.D. Cal. Apr. 7, 2021) only serves to underscore this deficiency.
  There, the court found that the plaintiff had adequately alleged an enterprise because
  Plaintiff “set forth numerous examples of instruments and conduct that plausibly ha[d]
  only a deceitful purpose and thus likely were not developed by accident or as part of
  routine business dealings.” Id. (emphasis added). For instance, one of the defendants
  that was part of the enterprise was said to have provided a software that “spread[]
  consumer purchases across dozens of merchant accounts in order to prevent any one
  merchant account from being shut down due to excessive chargebacks and/or fraud
  claims.” Id. at *3. There was both no obvious proper purpose for such software and
  use of such software by the other defendants necessitated the knowledge of the entire
  scheme. Id. at *17.

        By contrast, here, there is certainly a plausible non-deceitful purpose for a new
  venture to use celebrity endorsements to generate public interest. Indeed, if the Court
  were to find an enterprise was sufficiently pled in this action, it is quite unsure where

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  any sensible line could be drawn to distinguish lawful paid advertising from potentially
  criminal racketeering. Further, unlike the defendants’ use of an inherently nefarious
  software in Quick Box, the Promoter Defendants’ provision of paid endorsements does
  not necessitate their knowledge of an underlying pump and dump scheme. Though the
  Plaintiffs make the conclusory assertion in each of their individual Oppositions that the
  Promoter Defendants knew or were “grossly reckless in disregarding the fact that the
  EMAX Tokens had no value,” (see e.g., Kardashian Opp. at 1-2), Plaintiffs fail to
  illuminate for the Court why posting an endorsement necessitates knowledge of a pump
  and dump scheme. Presumably, by stating the Promoters were at best “reckless,”
  Plaintiffs are suggesting that the Promoters should have more sufficiently vetted the
  product before endorsing it. While the Court does not disagree with that proposition
  (and perhaps such reckless endorsements will undermine their credibility going
  forward), a celebrity’s self-interested recklessness does not evince a common scheme
  or purpose sufficient to establish a RICO claim.

         In sum, the Court determines that the RICO claim is deficient because Plaintiffs
  lack standing and fail to plausibly allege a RICO enterprise.

         At the hearing, the Court expressed skepticism that Plaintiffs could cure the
  standing deficiency given the Court’s holding turns on a question of law. However,
  unlike other rulings within this Order, to which Plaintiffs’ counsel acknowledged that
  amendment would be futile, Plaintiffs’ counsel insisted that the CCAC could be
  amended to cure the standing deficiency. Although the Court is doubtful, the Court
  will give Plaintiffs one, and only one, chance to amend the RICO claim to adequately
  allege standing and an enterprise. Any future amended complaint and subsequent
  motion to dismiss should also address why the PSLRA is not a bar to the RICO claim.

       Accordingly, the Omnibus Motion is GRANTED with leave to amend as to the
  RICO claim.

               C.    Standing to Assert Claims Under Other States’ Laws

         The CCAC avers that California law applies “to every member of the [putative]
  class regardless of where they reside.” (CCAC ¶ 126). Defendants argue that Plaintiffs
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  do not have standing to assert claims from states in which they do not reside.
  (Omnibus Motion at 16-17) (citing Drake v. Toyota Motor Corp., No. 2:20-cv-01421-
  SB-PLA, 2020 WL 7040125, at *3 (C.D. Cal. Nov. 23, 2020) (quoting In re Carrier
  IQ, Inc.,78 F. Supp. 3d 1051, 1075 (N.D. Cal. 2015); see also Zakikhan v. Hyundai
  Motor Co., No. CV 20-01584-SB (JDEx), 2021 WL 4805454, at *6 (C.D. Cal. June 28,
  2021) (rejecting plaintiffs’ contention that the non-California Plaintiffs can show
  standing for California claims because their claims “emanate from California” as “too
  conclusory”).

         In their Opposition, Plaintiffs fail entirely to address this argument. Given
  Defendants’ standing argument appears well supported with analogous case law, the
  Court will not independently assess the issue. See Shorter v. Los Angeles Unified Sch.
  Dist., No. CV 13-3198 ABC AJW, 2013 WL 6331204, at *5 (C.D. Cal. Dec. 4, 2013)
  (collecting cases holding that a plaintiff waived claims by failing to address arguments
  raised in the defendant’s motion to dismiss).

         Accordingly, the Omnibus Motion is GRANTED without leave to amend, to the
  extent it seeks to dismiss claims brought under state laws by named Plaintiffs that do
  not reside in the respective state. At the hearing, Plaintiffs’ counsel acknowledged that
  this holding turned on a question of law, and that amendment would be futile if the
  Court adhered to its tentative ruling.

               D.    Consumer Legal Remedies Act (“CLRA”)

         The CLRA prohibits certain “unfair methods of competition and unfair or
  deceptive acts or practices undertaken by any person in a transaction intended to result
  or which results in the sale or lease of goods or services to any consumer.” Cal. Civ.
  Code § 1770(a). The CLRA defines “goods” as “tangible chattels.” See id. § 1761(a);
  Fairbanks v. Superior Ct., 46 Cal. 4th 56, 60, 92 Cal. Rptr. 3d 279 (2009). The EMAX
  Tokens at issue here (i.e., cryptocurrency) cannot be described as anything but
  intangible goods, most akin to investment securities, and therefore, the CLRA does not
  apply to Plaintiffs’ claim. Cf. Fairbanks, 46 Cal. 4th at 65 (referring to investment
  securities as intangible goods to which the CLRA does not apply); see also Suski v.
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  Marden-Kane, Inc., No. 21-CV-04539-SK, 2022 WL 3974259, at *7 (N.D. Cal. Aug.
  31, 2022) (holding that cryptocurrency “is an intangible good outside the purview of
  the CLRA”).

         In their brief and at the hearing, Plaintiffs analogized this action to Doe v. Roblox
  Corp., 2022 WL 1459568, at *11–12 (N.D. Cal. May 9, 2022). There, the district court
  concluded that when the plaintiffs purchased “in-game currency” to be used within the
  defendant’s video game, the plaintiffs were “engaging in a transaction” with the
  defendant “to make use of a part of that entertainment service,” and therefore, the court
  held that the CLRA applied. Id. at *11. Here, Plaintiffs try to argue that their CLRA
  claim is viable because it does not concern the sale of an intangible good, but rather,
  involves the sale of a “service” because certain businesses have accepted EMAX
  Tokens as currency to purchase tickets for events and other goods. (Omnibus Opp. at
  27). However, Plaintiffs are not suing the alleged businesses that have accepted
  EMAX Tokens as currency, they are suing the sellers and promoters of the EMAX
  Tokens themselves. In other words, this case undeniably involves the sale of intangible
  goods.

         Moreover, the Court is not inclined to agree with the conclusion in Roblox that
  selling intangible goods for in-product game use amounts to a CLRA “service.” For
  “services” to be “in connection with” the sale of goods to qualify under the CLRA, the
  “goods” must themselves be covered by the CLRA. See Suski, 2022 WL 3974259, * 8
  (citing Meyer v. Cap. All. Grp., 2017 WL 5138316, at *6 (S.D. Cal. Nov. 6, 2017); see
  also Reeves v. Niantic, Inc., No. 21-CV-05883-VC, 2022 WL 1769119, at *2 (N.D.
  Cal. May 31, 2022) (disagreeing with Roblox and noting “[p]erhaps the California
  Legislature should amend the CLRA to remove the word ‘tangible’ from the definition
  of ‘goods’ but reasoning that “until that happens, courts should not shoehorn
  transactions involving the purchase of intangible goods into the definition of
  ‘services’”).

        Accordingly, the Omnibus Motion is GRANTED without leave to amend as to
  the CLRA claim because it is inapplicable to the sale of intangible goods such as
  cryptocurrency, and therefore, granting leave to amend would be futile. At the hearing,
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  Plaintiffs’ counsel did not contest the Court’s tentative view that this issue turned on a
  question of law that could not be cured through additional factual allegations.

               E.     Sufficiency of State Consumer Protection Statutory Claims

         In addressing the claims brought under the consumer protection statutes in
  California, Florida, New York, and New Jersey, the Court notes as an initial matter,
  that although each state law claim is substantively governed by state law, Rule 9(b)’s
  heightened pleading standard applies to each of Plaintiffs’ claims because they are
  grounded in fraud and have been brought in federal court. See Kearns v. Ford Motor
  Co., 567 F.3d 1120, 1125 (9th Cir. 2009) (quoting Vess v. Ciba–Geigy Corp. USA, 317
  F.3d 1097, 1102 (9th Cir. 2003) (“‘[W]hile a federal court will examine state law to
  determine whether the elements of fraud have been pled sufficiently to state a cause of
  action, the Rule 9(b) requirement that the circumstances of the fraud must be stated
  with particularity is a federally imposed rule.’”); see also In re NJOY, Inc. Consumer
  Class Action Litig., No. CV 14-00428 MMM (RZx), 2014 WL 12586074, at *14–15
  (C.D. Cal. Oct. 20, 2014) (finding Rule 9(b)’s heightened standards applied to Florida
  and New York claims); Hodges v. Vitamin Shoppe, Inc., No. CIV.A. 13-3381 SRC,
  2014 WL 200270, at *3 (D.N.J. Jan. 15, 2014) (applying Rule 9(b) to New Jersey’s
  Consumer Fraud Act claim and noting the plaintiff must “inject precision or some
  measure of substantiation into a fraud allegation” to satisfy Rule 9(b)’s stringent
  pleading requirements).

         Fatal to each of Plaintiffs’ state statutory claims is the fact that Plaintiffs neither
  allege which statements they viewed nor precisely when each Plaintiff purchased
  EMAX Tokens. Each of the state statutory claims require that Plaintiffs plead with
  specificity actual reliance or causation. The elements of actual reliance and causation
  both necessarily demand that Plaintiffs plead actual exposure to the allegedly
  fraudulent statements to impose liability.

        Instead, each Plaintiff broadly alleges that he or she “view[ed] numerous
  celebrity endorsements.” (CCAC ¶¶ 6-14). This is insufficient. For one, as
  Defendants point out, the CCAC refers to numerous other celebrities that promoted

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  EMAX but are not named as defendants, so Plaintiffs may have viewed (and relied on)
  those celebrities’ endorsements rather than those of the named Promoter Defendants.
  (Omnibus Mot. at 18) (citing CCAC ¶ 82) (naming five non-party celebrity promoters).
  Further, some of Plaintiffs’ allegations suggest that there is a fairly high probability
  that Plaintiffs did not see each of the statements that they allegedly relied on. For
  example, Plaintiffs suggest that it is inescapable that Plaintiffs saw Kardashian’s
  second post on June 14, 2021, and stake this allegation on the Morning Consult
  consumer survey that concluded that up to 21% of all U.S. adults viewed that post.
  (See Kardashian Opp. at 7-8). But that same statistic inevitably reveals that 79% of
  U.S. adults did not view the post. (See Kardashian Reply at 6). In other words, the
  survey does not allow the Court to merely assume that Plaintiffs actually saw (and
  therefore relied on or were led to purchase EMAX Tokens as a result of) Kardashian’s
  second post.

         While Plaintiffs concede that they have failed to sufficiently allege actual
  reliance as required by New York’s and New Jersey’s consumer protection statutes,
  Plaintiffs insist that their California and Florida statutory claims are sufficiently pled
  because those laws do not require Plaintiffs to plead exposure to each of Defendants’
  statements. (Compare Omnibus Opp. at 28 n.4 with id. at 24). Plaintiffs are mistaken.

         As for California law, to have standing to bring a UCL, FAL, or CLRA claim,
  “Plaintiffs must plead that they relied on the misleading materials.” Bronson v.
  Johnson & Johnson, Inc., No. C 12–04184 CRB, 2013 WL 1629191, at *2 (N.D. Cal.
  Apr. 16, 2013); see also Davidson v. Kimberly–Clark Corp., No. C 14–1783 PJH, 2014
  WL 3919857, at *9 (N.D. Cal. Aug. 8, 2014) (“[T]o maintain a claim under the FAL
  and CLRA, as well as under any UCL claim premised on fraud or misrepresentation, a
  plaintiff must plead facts showing that she relied on the defendant’s alleged
  misrepresentation.”); see also Cohen v. DIRECTV, Inc., 178 Cal. App. 4th 966, 979,
  101 Cal. Rptr. 3d 37 (2009) (“[W]e do not understand the UCL to authorize an award
  for injunctive relief and/or restitution on behalf of a consumer who was never exposed
  in any way to an allegedly wrongful business practice.”). This requirement of actual
  reliance stems from the California voters’ 2004 enactment of Proposition 64, which
  curtailed “the prior practice of filing suits on behalf of clients who have not used the
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  defendant’s product or service, viewed the defendant’s advertising, or had any other
  business dealing with the defendant.” Hall v. Sea World Ent., Inc., No. 3:15-CV-660-
  CAB-RBB, 2015 WL 9659911, at *3 (S.D. Cal. Dec. 23, 2015) (citing Kwikset Corp. v.
  Superior Ct., 51 Cal. 4th 310, 321, 120 Cal. Rptr. 3d 741 (2011)) (emphasis added).

        Plaintiffs contend that “actual reliance is presumed (or at least inferred) when the
  misrepresentation is material.” (Omnibus Opp. at 24) (citing See Ehrlich v. BMW of N.
  Am., LLC, 801 F. Supp. 2d 908, 919 (C.D. Cal. 2010); see also In re Sony Gaming
  Networks & Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942, 969 (S.D. Cal.
  2012)).

          The Court notes that both cases cited by Plaintiffs actually held that the plaintiffs
  had failed to sufficiently plead actual reliance. Nonetheless, the cases that do suggest
  that reliance may be inferred when the statement or omission is material “do[] not stand
  for the proposition that a consumer who was never exposed to an alleged false or
  misleading advertising or promotional campaign is entitled to restitution.” Sea World,
  2015 WL 9659911, at *3 (citing Pfizer Inc. v. Superior Court, 182 Cal. App. 4th 622,
  632, 105 Cal. Rptr. 3d 795 (2010); see also In re 5–hour ENERGY Mktg. & Sales Prac.
  Litig., No. MDL 13–2438 PSG PLAX, 2014 WL 5311272, at *16 (C.D. Cal. Sept. 4,
  2014) (“The existence of a prolonged marketing and advertising strategy does not
  relieve Plaintiffs of the need to allege exposure to the marketing strategy and particular
  misrepresentations relied upon.”) (citation omitted)).

         The Court finds the discussion in Sea World particularly instructive. There too,
  the class plaintiffs effectively conceded that the plaintiffs had not alleged reliance as to
  each plaintiff on particular statements but instead insisted that the Court could presume
  reliance based on materiality. Sea World, 2015 WL 9659911, at *3. The court
  extensively reviewed the relevant case law and concluded that while California
  appellate court cases do carve out a narrow exception to the requirement that a plaintiff
  plead with specificity the particular advertisements or statements relied upon, it only
  applies where a plaintiff pleads that they “viewed numerous statements and
  advertisements during a decades-long advertising campaign.” Id. at *4.


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         Here, Plaintiffs’ allegations that they each “viewed numerous celebrity
  endorsements” over the span of almost two months (the Relevant Period extending
  from May 14, 2021, to June 27, 2021), are insufficient to rely on the “decades-long
  advertising campaign” exception to pleading actual reliance. See id. Indeed, the
  allegations themselves make clear that at least some of the Plaintiffs purchased their
  EMAX Tokens prior to certain of the statements they allegedly relied on. For
  example, Plaintiffs repeatedly emphasize the impact of Kardashian’s second post,
  which was published on June 14, 2021, but clearly Plaintiffs who purchased their
  EMAX Tokens on the front-end of the Relevant Period did not actually rely on her then
  non-existent post to make those purchases. See id. at *5 (“If the named plaintiffs did
  not see (and could not have seen) the alleged false advertising before purchasing their
  tickets, the alleged misrepresentations could not have been ‘an immediate cause’ of the
  Plaintiffs’ decision to make their purchase.”).

         And to plead actual reliance on omissions under California law, Plaintiff must
  allege that “had the omitted information been disclosed one would have been aware of
  it and behaved differently.” See Mirkin v. Wasserman, 5 Cal. 4th 1082, 1093 (1993).
  Plaintiffs acknowledge the applicable standard but insist that they have satisfied it
  based on the following allegation in the CCAC: “The Executive Defendants’ activities
  with the Promoter Defendants caused Plaintiffs and the Class members to purchase
  and/or hold the EMAX Tokens when they otherwise would not have done so.” (CCAC
  ¶¶ 134-35). However, Plaintiffs fail to address the glaring hole in their argument – that
  nowhere in the CCAC do they plausibly allege that had each individual Defendant
  disclosed the allegedly omitted information, each Plaintiff would have been aware of
  it. Without allegations that each Plaintiff actually saw or heard the allegedly deceptive
  statements, Plaintiffs have not plausibly alleged that they would have been aware of the
  omitted information had it been disclosed. See Ehrlich, 801 F. Supp. 2d 908, 920 (C.D.
  Cal. 2010) (“[T]he [c]ourt agrees with BMW that the FAC is devoid of allegations that
  Plaintiff would have plausibly been aware of the cracking defect before he purchased
  his MINI had BMW publicized this information.”); Sanchez v. Wal Mart Stores, No.
  06–CV–2573 JAM–KJM, 2009 WL 2971553, at *2–3, 2009 U.S. Dist. LEXIS 89057,
  at *6–7 (E.D. Cal. Sept. 11, 2009) (holding no materiality because, inter alia, plaintiff
  did not establish she would have been aware of any missing warning that might have
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  been placed on product). Therefore, the Court concludes that the CCAC does not
  sufficiently allege actual reliance under California law as to either the alleged
  misrepresentations or omissions.

         Moreover, to the extent that Plaintiffs’ UCL claim is based on the “unfair” or
  “unlawful” prongs, the claim nonetheless fails. Because Plaintiffs have not sufficiently
  pled any other claim, the unlawful claim necessarily fails. Clay v. Pac. Bell Tel. Co.,
  639 F. App’x 420, 422 (9th Cir. 2016) (citing Aleksick v. 7–Eleven, Inc., 205 Cal. App.
  4th 1176, 1185, 140 Cal. Rptr. 3d 796 (2012) (“When a statutory claim fails, a
  derivative UCL claim also fails.”). As for the “unfair” prong, the CCAC’s single
  sentence stating “Defendants’ conduct is unfair under each of the[] tests” is wholly
  insufficient. (See CCAC ¶ 134). While Plaintiffs attempt to establish this claim more
  fully in their Omnibus Opposition, Plaintiffs may not amend their pleading through
  their brief. See Hatter v. Dyer, 154 F. Supp. 3d 940, 943 n.2 (C.D. Cal. 2015) (courts
  cannot consider additional allegations in an opposition to a motion to dismiss).

         As for Florida law, Plaintiffs contend (in their briefs and again at the hearing)
  that actual reliance is not a required element of a claim under the FDUTPA. (Omnibus
  Opp. at 28). But as Defendants’ correctly point out, under the FDUTPA, plaintiffs
  must plead, with specificity, how the alleged misrepresentations or omissions caused
  their damages. See Helpling v. Rheem Mfg. Co., No. 1:15-CV-2247-WSD, 2016 WL
  1222264, at *15 (N.D. Ga. Mar. 23, 2016) (“[C]ausation is a necessary element of the
  FDUTPA claim, and causation must be direct, rather than remote or speculative.”).
  Here, Plaintiffs do not allege that members of the class “were exposed to the same
  misrepresentations or any omissions, for example, through a long-term advertising
  campaign or where the misrepresentations or nondisclosures were included (or would
  have been included) on the product itself.” See Just. v. Rheem Mfg. Co., 318 F.R.D.
  687, 696–97 (S.D. Fla. 2016) (citing McVicar v. Goodman Glob., Inc., No. SA CV 13-
  1223-DOC (RNBx), 2015 WL 4945730, at *11 (C.D. Cal. Aug. 20, 2015)). Like in
  Rheem, the Court finds this case is unlike those “involving, for instance, automobile
  safety, where it is fair to assume that all of the purchasers of automobiles read some
  marketing materials regarding the product.” Id. (internal citations omitted); see also In
  re NJOY, Inc. Consumer Class Action Litig., No. CV1400428MMMRZX, 2014 WL
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  12586074, at *15 (C.D. Cal. Oct. 20, 2014) (dismissing the plaintiffs’ consumer
  protection claims on behalf of putative Florida and New York classes because the
  plaintiffs had not alleged that they were exposed to the advertisements, and therefore,
  had not sufficiently pled causation). But rather, here, Plaintiffs allege that various
  different Defendants made or failed to make very different statements that Plaintiffs
  allege were misleading for vastly different reasons.

        Under Rule 9(b), Plaintiffs have not plausibly alleged that each of Defendants’
  statements caused their damages because, as noted, they have not alleged which
  statements Plaintiffs actually saw or heard, or even whether they made their purchases
  of EMAX Tokens prior to each of the alleged misrepresentations/omissions.

         While the Omnibus Motion and the individual Defendants’ Motions argue that
  the CCAC should be dismissed for the additional reason that each specific
  misrepresentation or omission was nonactionable puffery, accurate, or immaterial, the
  Court declines to reach those issues given the lack of allegations regarding reliance. If
  Plaintiffs cannot amend the complaint to establish reliance, any ruling on the
  actionability of the alleged misrepresentations or omissions would merely be advisory.

          In sum, given the lack of allegations surrounding which Plaintiff saw which
  advertisements, and when each Plaintiff purchased their EMAX Tokens, the CCAC
  fails to meet the heightened pleading standard under Rule 9(b). For that reason alone,
  the Omnibus Motion is GRANTED with leave to amend as to the UCL, FAL, GBL,
  NJCFA, and FDUTPA claims.

               F.    Aiding and Abetting (Against Promoter Defendants)

         Plaintiffs aiding and abetting common law claim against the Promoter
  Defendants fares no better than their statutory claims. California recognizes liability
  for aiding and abetting an intentional tort where a defendant has knowledge of a
  specific primary wrong and provides substantial assistance in its completion. See
  Casey v. United States Bank Nat’l Ass’n, 127 Cal. App. 4th 1138, 1145 (2005).
  Because the aiding and abetting claim is grounded in fraud, the claim must meet the
  pleading requirements of Rule 9(b). However, Rule 9(b) allows for general pleading of
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  “[m]alice, intent, knowledge, and other conditions of a person’s mind.” See Fed. R.
  Civ. P. 9(b). Nonetheless, a plaintiff must still allege more than conclusory statements
  of knowledge. See Ashcroft, 556 U.S. at 686-87; Twombly, 550 U.S. at 555.

         In the Omnibus Opposition, Plaintiffs allege that the Promoter Defendants’
  knowledge can be “inferred by their repeated efforts to conceal their identities and
  wallet address information in order to effectuate the sale of the pre-mint EMAX
  Tokens without restriction or scrutiny.” (Omnibus Opp. at 32). However, the CCAC
  consistently explains that it was the Executive Defendants, not the Promoter
  Defendants, who concealed their identities. (CCAC ¶ 162) (“[T]he Executive
  Defendants concealed the identities of the EthereumMax founders and insiders in order
  to escape detection and punishment for their participation in the EMAX Token
  Enterprise.”). In other words, Plaintiffs’ argument is circular – they ask the Court to
  infer that the Promoter Defendants had knowledge of the Executive Defendants’
  activities by pointing to the Executive Defendants’ activities. Clearly, that logic makes
  no sense.

         Moreover, the CCAC relies on an entirely different theory of knowledge. To
  establish knowledge, the CCAC instead alleges that the “Promoter Defendants have
  previous knowledge and experience with making misleading promotional statements
  (with Mayweather having nearly an identical experience with a previous fraudulent
  cryptocurrency promotion), and, as such, knew or should have known that the
  marketing strategy employed by the Executive Defendants for the EMAX Tokens was
  unlawful, deceitful, fraudulent, and/or violated the terms of the California, Florida, and
  New York state statutes.” (CCAC ¶ 149). However, “the actual knowledge standard []
  require[s] more than a vague suspicion of wrongdoing.” In re First All. Mortg. Co.,
  471 F.3d 977, 993 n. (9th Cir. 2006) (citing Casey v. U.S. Bank Nat. Assn., 127 Cal.
  App. 4th 1138, 1153, 26 Cal. Rptr. 3d 401, 412 (2005)). In Casey, for example, trustee
  plaintiffs alleged that certain banks knew that fiduciary defendants were making
  “unauthorized cash withdrawals” in breach of their fiduciary duties and that the
  fiduciaries were “involved in a criminal or dishonest and wrongful enterprise and were,
  at the very least, laundering money.” Casey, 26 Cal. App. 4th at 1153-54. But the
  California appellate court held that such a “kitchen sink” allegation was insufficient
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  because it “failed to identify the primary wrong” and was “not otherwise supported by
  the rest of the complaint.” Id. at 1153. Here too, the very concession in the CCAC that
  the Promoter Defendants at least “should have known” dooms Plaintiffs’ claim
  because the standard requires pleading actual knowledge of “the primary wrong.” (See
  CCAC ¶ 149).

         Accordingly, because the CCAC fails to adequately plead that the Promoter
  Defendants had actual knowledge of a scheme to defraud EMAX investors, the
  Omnibus Motion is GRANTED with leave to amend as to the aiding and abetting
  claim.

               G.    Conspiracy

         Plaintiffs’ conspiracy claim fails for much of the same reasons that their RICO
  and aiding and abetting claims fail. Plaintiffs have not plausibly alleged that the
  Defendants came to any mutual agreement to defraud investors. Rather the allegations
  are equally, if not more, consistent with allegations that Defendants were each acting in
  their own self-interest. See Twombly, 550 U.S. at 552 (“[P]laintiffs must allege
  additional facts that “ten[d] to exclude independent self-interested conduct as an
  explanation for defendants’ parallel behavior.”).

         Again, Plaintiffs unpersuasively rely on their allegations regarding the alleged
  concealment of the identity and ownership interests of the EMAX leadership team to
  establish knowledge by each of the Defendants. Plaintiffs cite to United States v.
  Moreland, 622 F.3d 1147, 1169 (9th Cir. 2010) for the proposition that knowledge of a
  conspiracy is sufficiently pled where there are allegations that defendants “worked with
  individuals who took steps to hide their ill-gotten millions.” (See Omnibus Opp. at 30-
  31). This argument is feckless.

        First off, Moreland — a criminal conspiracy case in which the defendant
  appealed his conviction for conspiracy to commit money laundering under federal law
  — says precisely nothing about the adequacy of a complaint alleging civil conspiracy
  under California law. And even if it did, the facts in Moreland only serve to
  underscore the inadequacy of the facts alleged here. There, the Ninth Circuit found
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  that the “government introduced an overwhelming amount of evidence demonstrating
  Moreland’s knowledge of the existence of the conspiracy” including, for example, that
  the defendant knew that co-conspirators were sending fraudulently obtained money to
  the defendant’s offshore accounts, which the defendant then used to pay off other
  investors. Id. Therefore, the transfer of ill-gotten gains from one conspirator to
  Moreland, which was then used by Moreland to further the fraud, was of course
  sufficient to establish knowledge of the scheme. See id. By contrast, here, the CCAC
  merely alleges that certain of the Defendants hid their identities and ownership interests
  in EMAX from the public; unlike Moreland, the bare fact of concealment does not in
  any way connect one Defendant to any other Defendant.

        Tellingly, essentially every other relevant case cited by Plaintiffs in their
  Opposition held that the complaint insufficiently pled conspiracy. See Shubin v.
  Farinelli Fine Antiques Corp., No. C 15-01401 LB, 2015, WL 3464443, at *3 (N.D.
  Cal. May 29, 2015); Shubin v. Farinelli Fine Antiques Corp., No. C 15-01401 LB,
  2015 WL 3464443, at *3 (N.D. Cal. May 29, 2015); Rocawear Licensing LLC v.
  Pacesetter Apparel Grp., No. CV 06-3093 CJC (CWx), 2007 WL 5289737, at *5 (C.D.
  Cal. Sept. 12, 2007).

        At the hearing, Plaintiffs’ counsel reiterated various different facts about various
  Defendants but none of those facts plausibly established that the Defendants had come
  to any mutual agreement.

         Because the CCAC fails to adequately allege an agreement and/or knowledge by
  each of the Defendants, the Motion is GRANTED with leave to amend as to the claim
  for civil conspiracy.

               H.    Unjust Enrichment

     Finally, the CCAC fails to adequately plead unjust enrichment. Even without
  considering Defendants’ arguments that the claim is duplicative of other claims,
  Plaintiffs have not even attempted to allege that equitable relief is warranted because
  they lack an adequate remedy at law. See Sonner v. Premier Nutrition Corp., 971 F.3d

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  834, 844 (9th Cir. 2020); Guthrie v. Transamerica Life Ins. Co., 561 F. Supp. 3d 869,
  875 (N.D. Cal. 2021) (collecting cases) (“[A] plaintiff must, at a minimum, plead that
  she lacks adequate remedies at law if she seeks equitable relief.”).

         Accordingly, the Omnibus Motion is GRANTED with leave to amend as to the
  unjust enrichment claim.

IV.     CONCLUSION

        In sum, Plaintiffs fail to sufficiently state a claim for relief and the Omnibus
  Motion is GRANTED in full, and with leave to amend all claims except the CLRA
  claim, which is DISMISSED with prejudice.

        Additionally, all claims against Defendant Gentile are DISMISSED without
  prejudice as this court lacks personal jurisdiction over him.

        Plaintiffs may file an amended complaint, if any, by no later than December 22,
  2022. Defendants must respond to any amended complaint by no later than January
  13, 2023.

        IT IS SO ORDERED.




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